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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   DONALD TAYLOR
 7
 8
 9                       IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       )       No. 2:08-CR-263 FCD
                                     )
13                   Plaintiff,      )
                                     )       STIPULATION AND ORDER
14        v.                         )       CONTINUING STATUS CONFERENCE
                                     )       AND EXCLUDING TIME
15   CHARLES BARKSDALE,              )
          aka Sho, and               )       Date: October 20, 2008
16   DONALD TAYLOR                   )       Time: 10:00 a.m.
          aka Wooch,                 )       Judge: Frank C. Damrell, Jr.
17        aka Woochie,               )
                                     )
18                   Defendants.     )
                                     )
19   _______________________________ )
20         IT IS HEREBY STIPULATED AND AGREED between the parties, through
21   undersigned counsel, that the status conference scheduled for October 20,
22   2008 may be continued to November 10, 2008 at 10:00 a.m.
23         This   continuance   is   being   requested   as   the   parties   continue
24   attempting to narrow the issues to be resolved by the court.
25         The parties therefore agree that time under the Speedy Trial Act
26   should be excluded from the date of this order through November 10, 2008,
27   ///
28   ///
              Case 2:08-cr-00263-TLN Document 31 Filed 10/17/08 Page 2 of 2


 1   pursuant to Title 18, United States Code, Section 3161(h)(8)(A) and
 2   (B)(iv)(Local Code T4).
 3                                       Respectfully Submitted,
 4                                       DANIEL J. BRODERICK
                                         Federal Defender
 5
 6   Dated:    October 16, 2008          /s/ T. Zindel
                                         TIMOTHY ZINDEL
 7                                       Assistant Federal Defender
                                         Attorney for DONALD TAYLOR
 8
 9
                                         McGREGOR W. SCOTT
10                                       United States Attorney
11
     Dated:    October 16, 2008          /s/ T. Zindel for
12                                       MATTHEW D. SEGAL
                                         Assistant U.S. Attorney
13
14
     Dated:    October 16, 2008          /s/ T. Zindel for
15                                       PAT HANLY
                                         Attorney for CHARLES BARKSDALE
16
17
                                           O R D E R
18
            The status conference is continued to November 10, 2008 at 10:00
19
     a.m. The court finds that a continuance is necessary for the reasons
20
     stated above and further finds that the ends of justice served by
21
     granting a continuance outweigh the best interests of the public and the
22
     defendant in a speedy trial.       Time is therefore excluded from the date of
23
     this    order   through    November   10,   2008,    pursuant    to   18   U.S.C.   §
24
     3161(h)(8)(A) and (B)(iv).
25
            IT IS SO ORDERED.
26
     Dated:    October 17, 2008
27                                       ___________________________________
                                         FRANK C. DAMRELL, JR.
28                                       United States District Judge


     Stip & Order                             -2-
